     Case 4:21-cv-00909 Document 1-2 Filed on 03/19/21 in TXSD Page 1 of 24




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

JUNE BUFORD,                           §
    Plaintiff,                         §
                                       §
v.                                     §
                                             CIVIL ACTION NO. 4:21     -cv- 00909
                                       §
FAMILY DOLLAR STORES OF                §      JURY TRIAL DEMANDED
TEXAS, LLC                             §
    Defendant.                         §




                           EXHIBIT A
      Case 4:21-cv-00909 Document 1-2 Filed on 03/19/21 in TXSD Page 2 of 24




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 JUNE BUFORD,                                             §
    Plaintiff,                                            §
                                                          §
 v.                                                       §                               4:21-cv-00909
                                                                         CIVIL ACTION NO. ______
                                                          §
                                                                         JURY TRIAL DEMANDED
 FAMILY DOLLAR STORES OF                                  §
 TEXAS, LLC,                                              §
    Defendant.                                            §
                                                          §


                   DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
                           INDEX OF MATTERS BEING FILED


      Pursuant to Federal Rule of Civil Procedure 81, Defendant FAMILY DOLLAR
STORES OF TEXAS, LLC hereby attaches this Index of Matters Being Filed to its Notice
of Removal.

         Exhibit 1: All Executed Process:

                           •   Executed Return of Service on Lowe’s Home Centers, LLC
                               served on February 24, 2021.

         Exhibit 2: All State Court Pleadings:

                           •   Plaintiff’s Original Petition and Discovery Request, filed on
                               February 12, 2021;
                           •   Defendant Family Dollar Stores of Texas, LLC Original
                               Answer to Plaintiff’s Original Petition filed on March 18, 2021.

         Exhibit 3: State Court Docket Sheet

         Exhibit 4: List of all counsel of record, including addresses, telephone
                    numbers, and parties represented.




_________________________________________________________________________________________________________________
BUFORD/FD’S INDEX OF MATTERS BEING FILED
                                                                                                7564154 (58000.00601)
Case 4:21-cv-00909 Document 1-2 Filed on 03/19/21 in TXSD Page 3 of 24




      EXHIBIT 1
                 (Executed Service of Process)
Case 4:21-cv-00909 Document 1-2 Filed on 03/19/21 in TXSD Page 4 of 24             2/25/2021 9:02 AM
                                                        Marilyn Burgess - District Clerk Harris County
                                                                             Envelope No. 50898946
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      Case 4:21-cv-00909 Document 1-2 Filed on 03/19/21 in TXSD Page 5 of 24




                                    CAUSE NO. 2021-09285

BUFORD, JUNE                                      §
PLAINTIFF                                         §
                                                  §
VS.                                               §                      IN THE 125th District Court
                                                  §
FAMILY DOLLAR STORES OF TEXAS LLC                                            HARRIS COUNTY, TX
                                                  §
DEFENDANT




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                                      RETURN OF SERVICE




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ON Monday, February 15, 2021 AT 1:56 PM
CITATION, PLAINTIFF'S ORIGINAL PETITION for service on Family Dollar Stores of Texas, LLC C/O
REGISTERED AGENT CORPORATION SERVICE COMPANY came to hand.




                                                           es
ON Wednesday, February 24, 2021 AT 3:05 PM, I, ADRIANA ADAM, PERSONALLY




                                                        rg
DELIVERED THE ABOVE-NAMED DOCUMENTS TO: Family Dollar Stores of Texas, LLC C/O
                                                      Bu
REGISTERED AGENT CORPORATION SERVICE COMPANY, by delivering to John Spidel, 211 East 7th
Street, AUSTIN, TRAVIS COUNTY, TX 78701.
                                                  n
My name is ADRIANA ADAM. My address is 14524A HARRIS RIDGE BLVD. UNIT A, PFLUGERVILLE,
                                               ily

TX 78660. I am a private process server certified by the Texas Judicial Branch Certification
                                            ar


Commission (PSC 17714, expires 10/31/2021). My e-mail address is info@easy-serve.com. My date
of birth is 3/30/1992. I am in all ways competent to make this statement, and this statement is
                                         M




based on personal knowledge. I am not a party to this case and have no interest in its outcome. I
declare under penalty of perjury that the foregoing is true and correct.
                                      of
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Executed in TRAVIS COUNTY, TX on Wednesday, February 24, 2021.
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/S/ ADRIANA ADAM
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Buford, June

Doc ID: 279861_1
Case 4:21-cv-00909 Document 1-2 Filed on 03/19/21 in TXSD Page 6 of 24




      EXHIBIT 2
                    (State Court Pleadings)
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                 2021-09285 / Court: 125




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                                                                                                            By: C Ougrah
                                                                                               Filed: 3/18/2021 1:33 PM

                                              CAUSE NO. 2021-09285

JUNE BUFORD,                                               §         IN THE DISTRICT COURT
                                                           §
          Plaintiff,                                       §
                                                           §
v.                                                         §
                                                           §         HARRIS COUNTY, TEXAS
FAMILY DOLLAR STORES OF TEXAS,                             §
LLC,                                                       §
                                                           §
          Defendant.                                       §         125TH JUDICIAL DISTRICT

                  DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
                                ORIGINAL ANSWER

                                         I.      GENERAL DENIAL

             1.      Defendant denies each and every, all and singular, material allegations

     contained within Plaintiff’s pleadings and any amendments or supplements thereto

     and demands strict proof thereof.


                       II.     INFERENTIAL REBUTTAL INSTRUCTIONS

             2.      Defendant assert the following by way of inferential rebuttal and

     requests that the Court instruct the jury as follows:

                     a.       New and Independent Cause / Superseding Intervening
             Cause. The alleged damages in question as alleged by Plaintiff were caused,
             in whole or in part, by an act or omission of a separate and independent agency,
             not reasonably foreseeable to the Defendant, that destroyed any causal
             connection between the alleged acts or omissions of the Defendant and the
             injury complained of thus becoming an intervening, superseding cause of the
             incident and/or alleged injuries.




     BUFORD - DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
     ORIGINAL ANSWER                                           1              7551870_1 (58000.00601)
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                b.       Sole Proximate Cause. The act(s) or omission(s) of another
        person, including Plaintiff or another entity was the sole cause of the damages
        alleged by Plaintiff.

                c.       Prior and/or Subsequent Injuries/Conditions. Plaintiff’s
        claims of physical and/or mental ailments in this cause were, in whole or in
        part, proximately caused solely and/or proximately by prior and/or subsequent
        accidents, events, or occurrences. Also, Plaintiff’s claims of injuries and
        damages are the result in whole or in part of pre-existing conditions, injuries,
        diseases, illnesses, and disabilities and not the result of any act or omission on
        the part of the Defendant.


                              III.     AFFIRMATIVE DEFENSES

        3.      By way of affirmative defense, pleading in the alternative and without

waiving the foregoing general denial:

                a.       Failure to State a Claim. Plaintiff fails to state a claim for
        punitive damages on which relief may be granted.

                b.       Comparative Negligence-Responsibility. Defendant would
        show that the negligence of Plaintiff and one or more third parties and/or one
        or more Co-Defendant was/were the sole, or a partial, proximate cause of the
        accident and the injuries and damages alleged by Plaintiff. Because of
        Plaintiff’s negligence, Plaintiff is/are barred, in whole or in part, from a
        recovery of damages from Defendant. Also, pursuant to Ch. 33, Texas Civil
        Practice and Remedies Code, Defendant invokes the doctrine of comparative
        responsibility and would further show Defendant is/are entitled to an issue
        submitted to the jury on the comparative responsibility of Plaintiff and/or any
        third-party and/or any Co-Defendant who caused, contributed or was
        responsible for the injuries and damages alleged by Plaintiff.




BUFORD - DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
ORIGINAL ANSWER                                           2              7551870_1 (58000.00601)
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                c.       Responsible Third parties.           Pleading further and in the
        alternative, without waiving the foregoing, Defendant asserts that the
        occurrence in question and/or the alleged damages were proximately and/or
        producing caused, in whole or in part, by the acts, omissions, fault, negligence,
        or other conduct of third-parties, persons, or entities over whom Defendant has
        no right of control nor for whom Defendant is/are legally responsible.
        Furthermore, to the extent the acts and/or omissions for which Plaintiff
        complain/complains were committed by persons subject to Defendant’s
        supervision and control, Plaintiff’s claims are barred against Defendant, in
        whole or in part, because said persons acted beyond the scope of their authority
        to act on behalf of Defendant. Also, regarding other parties’ causation of
        Plaintiff’s injuries, Defendant’s liability must be reduced, and if Defendant are
        found to be jointly and severally liable, Defendant is/are entitled to a judgment
        for contribution from these other parties.

                d.       Failure to Mitigate. Plaintiff failed, either in whole or in part,
        to mitigate damages as required under applicable law. Any damages sought to
        be recovered by Plaintiff should be reduced to the extent that Plaintiff has/have
        failed to take the reasonable steps that a person of ordinary prudence in the
        same or similar situation would have taken to avoid the damages claimed in
        this lawsuit.

                e.       Paid-or-Incurred Medical-Expense Limitation. Plaintiff’s
        recovery of medical or health care expenses be limited to the amount actually
        paid or incurred by or on behalf of Plaintiff, pursuant to § 41.0105 of the Tex.
        Civ. Prac. & Rem. Code.

                f.       Failure to Submit Medical Bills to Medical-Insurance
        Provider. Plaintiff’s claims for medical expenses are barred by the provisions
        of § 146, et seq of the Tex. Civ. Prac. & Rem. Code, to the extent that Plaintiff
        is/are covered by medical insurance and medical providers have refused to



BUFORD - DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
ORIGINAL ANSWER                                           3               7551870_1 (58000.00601)
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        submit the medical bills to the medical insurance provider. Tex. Civ. Prac. &
        Rem. Code § 146.003.

                g.       Credit/Offset. Defendant is/are entitled to a credit or offset for
        all monies or consideration paid to or on behalf of Plaintiff by virtue of any type
        or form of settlement agreement entered into by and between Plaintiff and any
        settling person, responsible third-party or any other person or entity not a
        party to this lawsuit. Defendant claims and is/are entitled to all lawful
        settlements, credits and offsets including but not limited to those set forth in
        Tex. Civ. Prac. & Rem. Code §33.012 and §41.0105. Thus, Defendant assert the
        affirmative defenses of offset, credit, payment, release, and accord and
        satisfaction to the extent applicable as provided under Texas Rule of Civil
        Procedure 94.

                h.       Loss of Earnings / Loss of Earning Capacity—Post-Tax-
        Payments/Liability. Pursuant to Tex. Civ. Prac. & Rem. Code § 18.091,
        Plaintiff must prove Plaintiff’s alleged loss of earnings and/or loss of earning
        capacity in a form that represents their net loss after reduction for income tax
        payments or unpaid tax liability. Also, Defendant request the Court instruct
        the jury as to whether any recovery for compensatory damages sought by
        Plaintiff is/are subject to federal and state income taxes.

                i.       Assumption of the Risk. Plaintiff assumed the risk associated
        with engaging in the activity associated with the incident made the basis of
        this lawsuit.

                j.       Damages Bars and Limitations. Plaintiff’s claims, if any, for
        exemplary, punitive, or other damages are barred, limited, restricted, and/or
        governed by the provisions of the Tex. Civ. Prac. & Rem. Code Ch. 41 and other
        applicable law.

                k.       Punitive-Damages Unconstitutionality. Defendant further
        invokes Defendant’s rights under the Due Process Clause and Equal Protection


BUFORD - DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
ORIGINAL ANSWER                                           4              7551870_1 (58000.00601)
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        Clause of the Fifth, Eighth (as it applies to the States through the Fourteenth
        Amendment), and Fourteenth Amendment of the United States Constitution.
        Punitive and/or exemplary damages is/are violative of the Fifth, Eighth, and
        Fourteenth Amendment inasmuch as punitive and/or exemplary damages can
        be assessed:

                     (1)         in an amount left to the discretion of the jury and judge;
                    (2)    in assessing such sums, the decision of the jury need only
                be based on a vote of ten jurors and does not require a unanimous
                verdict;
                    (3)      in assessing such penalty or exemplary awards, Plaintiff
                need/needs only prove the theory of gross negligence on a clear-and-
                convincing-evidence standard and not on a "beyond a reasonable doubt"
                standard, as should be required in assessing a punishment award;
                    (4)      also, the Defendant who is/are subject to the award does
                not have the right to refuse to testify against herself, but must, in fact,
                take the stand and/or give deposition testimony or subject herself to the
                consequences of a default judgment;
                    (5)       the assessment of such a punishment and/or exemplary
                award is/are not based on a clearly defined statutory enactment setting
                forth a specific mens rea requirement and/or other prerequisites of a
                criminal fine and, in effect, allows the assessment of such awards though
                there are no specific standards, limits or other statutory requirements
                set forth which define the mens rea and scope and limit of such awards.
                Therefore, the awards are unduly vague and do not meet the
                requirements of due process;
                    (6)      in essence, Defendant herein is/are subjected to all the
                hazards and risks of what amounts to a fine and, in fact, such awards
                often exceed normal criminal fines; but Defendant receives none of the
                basic rights afforded a criminal defendant when being subjected to
                possible criminal penalties; and
                    (7)      the assessment of punitive and/or exemplary damages
                differs from defendant to defendant and treats similar Defendant in
                dissimilar ways.

                Thus, Defendant herein invokes Defendant’s rights under the Fifth,
        Eighth and Fourteenth Amendments of the United States Constitution and
        requests this Court disallow the award of punitive and/or exemplary damages




BUFORD - DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
ORIGINAL ANSWER                                           5                7551870_1 (58000.00601)
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        in as much as an award in this case would be violative of this Defendant's
        United States Constitutional rights.

        4.      Reservation of Rights. Defendant hereby gives notice Defendant

intends to rely on such other defenses or denials, affirmative or otherwise, and to

assert third-party claims and any other claims, as may become available or appear

during discovery as it proceeds in this matter, and hereby reserve the right to amend

its Answer to assert such defenses.


                             IV.      TEX. R. CIV. P.193.7 NOTICE

        5.      Pursuant to Tex. R. Civ. P. 193.7, Defendant hereby gives actual notice

to Plaintiff that any and all documents produced by Plaintiff may be used against

Plaintiff at any pretrial proceeding or at the trial of this matter without the necessity

of authenticating the documents.


                V.       TEXAS RULE OF EVIDENCE 609(f) REQUEST

        6.      Defendant requests that Plaintiff, pursuant to Texas Rules of Evidence

609(f), give Defendant sufficient advanced written notice of Plaintiff’s intent to use

evidence of a conviction of a crime under Rule 609(f) against any party or witness in

this case, with failure to do so resulting in inadmissibility of the same.




BUFORD - DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
ORIGINAL ANSWER                                           6            7551870_1 (58000.00601)
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                                       VI.     JURY DEMAND

        7.      Defendant demands a trial by jury and tenders the applicable jury fee

with its Answer.


                                  VII.     RELIEF REQUESTED

        8.      Defendant prays that:

                a.       Plaintiff take nothing by this lawsuit;

                b.       Defendant go hence with its costs (i.e., its costs be taxed against

                         Plaintiff) without delay; and

                c.       for such other and further relief, both general and special, at law

                         and in equity, to which Defendant may show itself justly entitled.

                                                  Respectfully submitted,

                                                  MAYER LLP
                                                  4400 Post Oak Parkway, Suite 1980
                                                  Houston, Texas 77027
                                                  713.487.2000 / Fax 713.487.2019

                                                  By: /s/ Kevin Riley
                                                      Kevin P. Riley
                                                      State Bar No. 16929100
                                                      kriley@mayerllp.com
                                                      Harry L. Laxton Jr.
                                                      Southern Bar No. 906711
                                                      State Bar No. 24093092
                                                      hlaxton@mayerllp.com

                                                   ATTORNEYS FOR DEFENDANT
                                                   FAMILY DOLLAR STORES OF TEXAS,
                                                   LLC




BUFORD - DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
ORIGINAL ANSWER                                           7                 7551870_1 (58000.00601)
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                                  CERTIFICATE OF SERVICE

       This is to certify that on the 18th day of March 2021, a true and correct copy of
the foregoing has been forwarded to all counsel of record as follows:

                                                          ☐E-MAIL
           Scott P. Armstrong                             ☐HAND DELIVERY
         State Bar No. 24092050                           ☐FACSIMILE
     2900 North Loop West, Ste. 830                       ☐OVERNIGHT MAIL
            Houston, Texas 77092                          ☐REGULAR, FIRST CLASS MAIL
 Email: sarmstrong@armstronglee.com                       ☒E-FILE AND SERVE
                                                          ☐E-SERVICE ONLY
      COUNSEL FOR PLAINTIFF                               ☐CERTIFIED MAIL/RETURN RECEIPT
                                                          REQUESTED


                                                  /s/ Kevin P. Riley
                                                  Kevin P. Riley




BUFORD - DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
ORIGINAL ANSWER                                            8                  7551870_1 (58000.00601)
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       EXHIBIT 3
                   (State Court Docket Sheet)
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                           Docket Sheet Entries
Date       Comment
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       EXHIBIT 4
                 (List of all Counsel of Record)
      Case 4:21-cv-00909 Document 1-2 Filed on 03/19/21 in TXSD Page 23 of 24




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 JUNE BUFORD,                                             §
    Plaintiff,                                            §
                                                          §
 v.                                                       §                                4:21-cv-00909
                                                                          CIVIL ACTION NO. ______
                                                          §
                                                                          JURY TRIAL DEMANDED
 FAMILY DOLLAR STORES OF                                  §
 TEXAS, LLC,                                              §
    Defendant.                                            §
                                                          §


                   COUNSEL OF RECORD AND INFORMATION PURSUANT TO
                                LOCAL RULE CV-81(C)


(1)   A list of all parties in the case, their party type (e.g., plaintiff, defendant,
intervenor, receiver, etc.) and current status of the removed case (pending,
dismissed);

        Plaintiff         June Buford

        Defendant Family Dollar Stores of Texas, LLC

        The removed case is currently pending.

(2)    A civil cover sheet and a certified copy of the state court docket sheet; a copy of
all pleadings that assert causes of action (e.g. complaints, amended complaints,
supplemental complaints, counterclaims, cross-actions, third party actions,
interventions, etc.); all answers to such pleadings and a copy of all process and orders
served upon the party removing the case to this court, as required by 28 U.S.C. §
1446(a).

        See attached civil cover sheet and documents attached to Defendant's Notice
        of Removal.

 (3) A complete list of attorneys involved in the action being removed, including
each attorney's bar number, address, telephone number and party or parties
represented by him/her;



_________________________________________________________________________________________________________________
BUFORD/COUNSEL OF RECORD AND INFORMATION                                                            P A G E |1
DOC #7564201V1 / 588000.00601
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  Scott P. Armstrong                                              MAYER LLP
  ARMSTRONG & LEE LLP                                             Kevin P. Riley
  Teri M. Russell                                                 State Bar No. 16929100
  State Bar No. 24108362                                          Southern Bar No. 13776
  2900 North Loop West, Suite 830                                 Email: kriley@mayerllp.com
  Houston, Texas 77092                                            Harry L. Laxton Jr.
  Phone – 832-709-1124                                            State Bar No. 12061762
  Fax – 832-709-1125                                              Southern Bar No. 906711
  Email: sarmstrong@armstronglee.com                              Email: hlaxton@mayerllp.com
  Email: trussell@armstronglee.com                                4400 Post Oak Parkway, Suite 1980
  Email: service@armstronglee.com                                 Houston, Texas 77027
                                                                  713.487.2000/713.487.2019 – fax
  Counsel for Plaintiff
  June Buford                                                     Counsel for Defendant
                                                                  FAMILY DOLLAR STORES OF TEXAS, LLC


(4)    A record of which parties have requested a trial by jury (this information is in
addition to placing the word "jury" at the top of the Notice of Removal immediately
below the case number);

        Defendant, Family Dollar Stores of Texas, LLC has requested a trial by jury.

(5)     The name and address of the court from which the case is being removed.

        125th Harris County District Court
        Judge Kyle Carter
        Harris County Civil Courthouse
        201 Caroline, 10th Floor
        Houston, Texas 77002
        832.927.2550




_________________________________________________________________________________________________________________
BUFORD/COUNSEL OF RECORD AND INFORMATION                                                            P A G E |2
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